           Case 2:06-cr-00289-TLN Document 23 Filed 09/14/06 Page 1 of 2


1    DANIEL BRODERICK, Bar #89424
     Federal Defender
2    LINDA HARTER, Bar # 179741
     Chief Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     CHRISTIAN MORENO
6
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )   No. CR-S-06-289 MCE
                                        )
12                    Plaintiff,        )
                                        )   STIPULATION AND ORDER
13        v.                            )
                                        )
14   CHRISTIAN MORENO and               )   Date: October 3, 2006
     JESUS JAIME MARTINEZ,              )   Time: 8:30 a.m.
15                                      )   Judge: Morrison C. England, Jr.
                    Defendants.         )
16   ______________________________     )
17
18        IT IS HEREBY STIPULATED and agreed to between the United States of
19   America through Michael Beckwith, Assistant United States Attorney;
20   defendant, JESUS JAIME MARTINEZ, by and through his counsel, Dina
21   Santos; and defendant, CHRISTIAN MORENO, by and through his counsel,
22   Linda Harter, Chief Assistant Federal Defender, as follows:
23        It is agreed that the current Status Conference hearing date of
24   September 19, 2006 be vacated and a new status conference hearing date
25   of October 3, 2006 at 8:30 a.m. be set.
26        This continuance is requested to allow counsel for both parties
27   additional time to prepare, to review discovery, and to conduct ongoing
28   investigation.
             Case 2:06-cr-00289-TLN Document 23 Filed 09/14/06 Page 2 of 2


1          It is further stipulated and agreed among the parties that the
2    period beginning September 19, 2006 through October 3, 2006 should be
3    excluded in computing the time within which the trial of the above
4    criminal prosecution must commence for purposes of the Speedy Trial Act
5    for defense preparation.         All parties stipulate and agree that this is
6    an appropriate exclusion of time within the meaning of Title 18, United
7    States Code, Section 3161(h)(8)(B)(iv) and Local Code T4.
8    Dated: September 11, 2006                 Respectfully submitted,
9                                              DANIEL BRODERICK
                                               Federal Defender
10
                                               /s/ Linda C. Harter
11                                             ________________________________
                                               LINDA C. HARTER
12                                             Chief Assistant Federal Defender
                                               Attorney for Defendant
13                                             CHRISTIAN MORENO
14                                             /s/ Dina Santos
                                               _________________________________
15                                             DINA SANTOS
                                               Attorney for Defendant
16                                             JESUS JAIME MARTINEZ
17   Dated: September 11, 2006                 MCGREGOR W. SCOTT
                                               United States Attorney
18
                                               /s/ Michael Beckwith
19                                             _________________________________
                                               MICHAEL BECKWITH
20                                             Assistant U.S. Attorney
21                                           ORDER
22   IT IS SO ORDERED.
23   Dated: September 14, 2006
24
25
                                             _____________________________
26
                                             MORRISON C. ENGLAND, JR
27                                           UNITED STATES DISTRICT JUDGE

28


     Stipulation and Proposed Order            2
